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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

---------------------------------x
-
SPARTA    INSURANCE COMPANY                   :
(as successor in interest to Sparta Insurance
Holdings, Inc.),                              :

                     Plaintiff,              :     Civil Action
                                                   No. 21-11205-FDS
       v.                                    :

PENNSYLVANIA GENERAL INSURANCE :
COMPANY (now known as Pennsylvania
Insurance Company),                :

               Defendant.        :
---------------------------------x
-
      PLAINTIFF SPARTA INSURANCE COMPANY’S MEMORANDUM OF
   LAW IN SUPPORT OF ITS MOTION FOR JUDGMENT ON THE PLEADINGS

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Dated: September 19, 2022                         SPARTA Insurance Company
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                                PRELIMINARY STATEMENT

               Plaintiff SPARTA Insurance Company (“SPARTA”) respectfully seeks judgment

on the pleadings and a declaration that Defendant Pennsylvania General Insurance Company

(“PGIC”) is contractually obligated to administer and pay all insurance claims asserted under

historical American Employers’ Insurance Company (“AEIC”) policies that pre-date SPARTA’s

“clean shell” acquisition of AEIC from PGIC in 2007 pursuant to several agreements.

               Under the transfer and assumption agreement between AEIC and PGIC (the

“Reinsurance Agreement”), all of AEIC’s liabilities, including future liabilities based on AEIC’s

insurance business, were transferred to and assumed by PGIC, either directly or as a reinsurer.

As expressly provided for in the Reinsurance Agreement, this transfer of liability included

responsibility for administering as well as paying any claims made against an AEIC policy in

force as of the Reinsurance Agreement’s Effective Date.

               The Stock Purchase Agreement under which SPARTA acquired AEIC also

unambiguously demonstrates the parties’ agreement that PGIC, not SPARTA, be responsible for

AEIC claims. Among other things, PGIC represented in that agreement that PGIC had assumed

all liabilities under an AEIC policy that had arisen or could arise in the future under the

Reinsurance Agreement, and that the Reinsurance Agreement was valid and effective. Further,

PGIC agreed to indemnify and hold harmless SPARTA for all of the liabilities for insurance

policies issued by AEIC and for all of the business of AEIC prior to the acquisition

               Taken together, those two agreements unambiguously demonstrate that the

parties’ agreement was that PGIC – not SPARTA – was to administer and pay claims made

against historical AEIC policies. SPARTA respectfully submits that it is entitled to entry of

judgment on the pleadings and a declaration that PGIC must comply with its contractual

obligations with respect to those claims.
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                                  FACTUAL BACKGROUND

       A.      SPARTA Acquires AEIC As A Clean Shell Company

               On March 12, 2007, Plaintiff SPARTA Insurance Company and Defendant

Pennsylvania General Insurance Company entered into a Stock Purchase Agreement (the

“Agreement” or “SPA”). (Am. Compl. ¶¶ 2, 13, ECF 19; PGIC’s Answer ¶¶ 2, 13, ECF 53

(admitting allegation).) In the SPA, SPARTA acquired from PGIC a Massachusetts insurance

corporation named American Employers’ Insurance Company. (Am. Compl. ¶ 13; PGIC’s

Answer ¶ 13 (admitting allegation).)

               The transaction was structured so that SPARTA acquired AEIC as a “clean shell,”

which means there would be no liabilities remaining in the AEIC company after the transaction

was consummated. (Am. Compl. ¶ 2; PGIC’s Answer ¶ 13 (admitting that the parties entered

into the SPA in 2007 and referring to the SPA as the best evidence of its contents); Transmittal

Declaration Of James R. Carroll (cited as “Carroll Decl.”) Ex. 1 (hereinafter “SPA”) § 2.19(b)

(PGIC represented that “[a]ll liabilities of the Company [AEIC] that have arisen or could arise,

under any insurance contract or any reinsurance treaty or otherwise, have been and will be

assumed by Seller [PGIC] pursuant to the Reinsurance Agreement.”).) AEIC, which held

various licenses to write insurance business, would then be able to write new insurance business

going forward “clean” and without any historical liabilities. (SPA § 2.19(b).) Those historical

liabilities, such as policies with policyholders for prior time periods, were agreed to be the

responsibility of PGIC to administer and pay any associated claims. (Id.) To create the “clean

shell” in AEIC, on June 15, 2005, more than two years before the transaction closing, all of the

pre-transaction AEIC liabilities were either (i) transferred from AEIC to PGIC in their entirety or

(ii) for a limited number of pre-transaction liabilities in jurisdictions in which PGIC was not

licensed and other conditions were satisfied, reinsured in their entirety by PGIC, pursuant to the


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Reinsurance Agreement. (Am. Compl. ¶ 2; SPA § 2.19; see also Carroll Decl. Ex. 2 (hereinafter

“Reinsurance Agreement”).)

       B.      The Stock Purchase Agreement

               The agreements contain several protections to make sure that SPARTA in fact

received a “clean shell” and would not have any responsibility for administering or paying

claims made pursuant to historical AEIC policies.

               Among other things, in the SPA, PGIC agreed to indemnify and hold harmless

SPARTA for all of the liabilities for insurance policies issued by AEIC and for all of the

business of AEIC prior to the acquisition. (SPA § 8.1.) In the SPA, PGIC also represented and

warranted that “[a]ll liabilities of [AEIC] that have arisen or could arise, under any insurance

contract or any reinsurance treaty or otherwise, have been and will be assumed by [PGIC]

pursuant to the Reinsurance Agreement,” and that AEIC had “and will at Closing have, no

liabilities of any nature, whether absolute, accrued, contingent or otherwise or whether due or to

become due, other than those assumed by [PGIC] pursuant to the Reinsurance Agreement.”

(SPA § 2.19(b).) The Reinsurance Agreement being in full force and effect was a condition to

close. (SPA § 6.12.)

               The parties agreed in the SPA that their rights and obligations under the SPA are

governed by Massachusetts law. (SPA § 12.8.)

       C.      The Reinsurance Agreement

               In the Reinsurance Agreement, PGIC agreed to assume or reinsure the historical

AEIC liabilities, either through direct assumption or as a reinsurer. (See Reinsurance

Agreement.) As noted in the preamble of the Reinsurance Agreement, this was done to

“facilitate the Sale” of AEIC (defined as American in the Reinsurance Agreement) to an




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unrelated party, i.e., SPARTA. (Reinsurance Agreement at 1.) The Reinsurance Agreement

provided that:

                 Immediately as of the Effective Date and Time, all the rights, franchises, and
                 interests of American in and to every species of property (whether real, personal,
                 or mixed) and choses in action thereunto belonging, shall be deemed as
                 transferred to and vested in Pennsylvania General and simultaneously therewith
                 Pennsylvania General shall be deemed to have assumed any and all of the
                 liabilities and assets of American; provided, that not less than eleven million
                 dollars ($11,000,000.00) in assets, which shall include or consist of any and all
                 statutory deposits (“Policyholders’ Surplus”), shall remain in American, together
                 with the corporate charter, minute books and the licenses of, and regulatory
                 records and filings concerning, American (together with the Policyholders’
                 Surplus, the “Retained Assets”)

(Reinsurance Agreement § 3 (emphasis added).) The transferred liabilities were defined broadly

to include:

                 any and all of American’s liabilities or contractual commitments of every nature
                 and description, whether absolute, accrued, contingent or otherwise or whether
                 due now or in the future, including, without limitation, the following:

                 a. any and all unpaid losses and loss adjustment expenses and any and all
                    liabilities existing or arising in the future under Section 4.a. or 4.b[1]
                    ...

                 h. any and all subsequent actions, proceedings or liabilities arising from any of
                    the foregoing liabilities or the assets of American.

(Reinsurance Agreement § 5.)




1
       Sections 4.a. and 4.b. define the transferred assets of AEIC as including:
                 a. any and all business, including, without limitation, any and all underwriting
                 contracts, including direct insurance policies and endorsements in respect thereto,
                 reinsurance contracts, facultative contracts, retrocession agreements and any and
                 all other underwriting contracts of every kind and description;

                 b. any and all cash, securities, choses in action and other property of every nature
                 and description, including real property, leaseholds and other interests therein; . . .

(Reinsurance Agreement § 4.)



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               For a small subset of insurance business that PGIC could not assume directly,

defined as the Retained Business, PGIC agreed to reinsure the liabilities in their entirety:

               Pennsylvania General shall assume as 100% reinsurance, as opposed to a
               complete Transfer and Assumption, the following insurance business which is in
               force as of the Effective Date and Time: (a) the historical bond insurance business
               of American (the “Retained Bonding Business”) and (b) the historical insurance
               business of American in those states in which such business has unearned
               premium or unpaid loss and in which Pennsylvania General does not have an
               insurance license (the “Retained Non-Bonding Business”, and together with the
               Retained Bonding Business, the “Retained Business”); provided, that such
               reinsurance for the Retained Non-Bonding Business shall continue only until such
               time as Pennsylvania General receives the insurance license(s), if necessary, to
               permit a complete Transfer and Assumption of the Retained Non-Bonding
               Business into Pennsylvania General or one of its affiliates or there ceases to be
               unearned premium or unpaid loss on such business.

(Reinsurance Agreement § 6.) In addition, PGIC expressly agreed that it would:

               at its sole expense, perform any and all administrative functions for such Retained
               Business, including without limitation claims handling, underwriting and
               regulatory functions, and shall reimburse American for any and all out of pocket
               expenses related thereto. Pennsylvania General shall 100% reinsure American
               with respect to, and American shall cede to Pennsylvania General, all premiums,
               losses and expenses relating to such Retained Business as of the Effective Date
               and Time and as renewed by American thereafter pending regulatory approvals. . .

(Reinsurance Agreement § 6.)

       D.      For More Than One Decade After The Transaction,
               Claims Related To Historical AEIC Policies Were Paid
               And Administered In Accordance With The Parties’ Agreements

               In May 2021, SPARTA learned that claims made on historical AEIC policies

were no longer being paid and reached out to PGIC to confirm that PGIC (now known as

Pennsylvania Insurance Company) would “continue to honors its obligations and assume, handle

and pay all claims” arising from AEIC policies. (Carroll Decl. Ex. 3; see also PGIC’s Answer

¶ 21 (admitting that SPARTA sent communications to PGIC in May 2021 and referring to the

communications as the best evidence of their contents).) Since the close of the 2007 transaction,

claims made pursuant to AEIC policies were not administered or paid by SPARTA. (Am.


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Compl. ¶ 19.) Instead, SPARTA and its affiliates tendered those claims for administration and

payment pursuant to the SPA and/or Reinsurance Agreement. (Id.)

       E.     In 2021, PGIC Refused To Comply With The Parties’ Agreements
              And Claims Related To Historical AEIC Policies Were No Longer
              Paid And Administered In Accordance With The Parties’ Agreements

              In May, June, July, August and September 2021, SPARTA repeatedly contacted

PGIC concerning SPARTA’s requests for indemnity to PGIC for claims arising out of historical

policies issued by AEIC. (Am. Compl. ¶ 21; PGIC’s Answer ¶ 21 (admitting that SPARTA sent

communications to PGIC and referring to the communications as the best evidence of their

contents); Carroll Decl. Exs. 3-6 (May, June, July and September 2021 communications from

SPARTA to PGIC).)2

              In those communications, SPARTA tendered to PGIC for indemnity numerous

specific claims made pursuant to historical insurance policies issued by AEIC. (See Carroll

Decl. Ex. 3 (May 28, 2021 email from SPARTA informing PGIC of four actions where

SPARTA was named as a party due to a historical AEIC policy); Carroll Decl. Ex. 4 (June 23,

2021 email from SPARTA tendering 14 additional actions for defense and indemnity to PGIC);

Carroll Decl. Ex. 5 (SPARTA July 26, 2021 notice of indemnification regarding the claims

discussed in Exhibits 3 and 4 and four additional claims); Carroll Decl. Ex. 6 (SPARTA

September 27, 2021 notice of indemnification regarding 13 additional claims).) PGIC refused to

honor its contractual obligations under the SPA and Reinsurance Agreement to administer and

pay these claims. (E.g., ECF 22 at 18.)



2
       Indeed, SPARTA has continued to receive claims made against AEIC historical policies
throughout the pendency of this litigation and has continued to provide PGIC with information
regarding the claims and the expenses SPARTA is incurring in connection with those claims.
(See Carroll Decl. Ex. 7.)


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       F.     SPARTA Has Paid Millions Of Dollars Related To Claims Made
              Pursuant To Historical AEIC Policies That Are The Obligation Of PGIC

              PGIC’s conduct has left SPARTA – and individual AEIC policyholders – in an

untenable position: Those AEIC policyholders require that their claims be administered and

paid, but PGIC has refused to administer or pay those claims. PGIC’s repeated failure to

administer and pay claims in respect of historical AEIC policies has frustrated SPARTA’s rights

under the SPA and Reinsurance Agreement, and generated a live dispute and actual controversy

concerning the parties’ contractual rights and obligations under the SPA and Reinsurance

Agreement. (Am. Compl. ¶¶ 22-23.) Accordingly, SPARTA seeks the following declarations:

              (a)     Pennsylvania General Insurance Company (“PGIC”) is required to
                      indemnify and hold SPARTA harmless of and from any loss, cost,
                      expense, claim, interest, fine, penalty, deficiency, obligation, liability or
                      damage, including, without limitation, reasonable attorneys’ fees,
                      accountants’ fees and other investigatory fees, and out-of-pocket expenses,
                      actually expended or incurred by SPARTA or American Employers’
                      Insurance Company (“AEIC”), arising out of or resulting from (i) any
                      breach of representation or warranty (including any misrepresentation in,
                      or omission from, any certificate or other document furnished or to be
                      furnished by PGIC to SPARTA) or nonfulfillment of any covenant or
                      agreement on the part of PGIC under the SPA; (ii) the failure by PGIC to
                      perform any of its obligations under the Reinsurance Agreement, as
                      defined in the SPA; (iii) any loss arising out of or resulting from the
                      existence of AEIC prior to the August 7, 2007 closing or the conduct of
                      the Business, as defined in the SPA, or other operations by or of AEIC
                      prior to the August 7, 2007 closing; and (iv) all actions, suits, proceedings,
                      demands, assessments, judgments, costs and expenses incident to any of
                      the foregoing.

              (b)     PGIC is required to pay all of SPARTA’s costs, expenses and reasonable
                      attorneys’ fees incurred in obtaining PGIC’s compliance with its
                      obligations under the SPA and in connection with this action.

              (c)     PGIC is responsible for all of AEIC’s liabilities and contractual
                      commitments of every nature and description, whether absolute, accrued,
                      contingent or otherwise, or whether due at the time of the Reinsurance
                      Agreement, as defined in the SPA, or in the future, including, without
                      limitation, any and all subsequent actions, proceedings or liabilities arising
                      from any of the liabilities or assets of AEIC.



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                 (d)    PGIC shall, at its sole expense, perform any and all administrative
                        functions for the prior AEIC Business, as defined in the SPA, including
                        without limitation claims handling.

(See id.)

                                           ARGUMENT

I.      THE COURT SHOULD ENTER JUDGMENT FOR
        SPARTA AND DECLARE THAT PGIC IS OBLIGATED
        TO ADMINISTER AND PAY CLAIMS MADE AGAINST AEIC POLICIES

        A.       Legal Standards Applicable To Motion For Judgment On The Pleadings

                 Rule 12(c) of the Federal Rules of Civil Procedure provides that “[a]fter the

pleadings are closed . . . a party may move for judgment on the pleadings.” Fed. R. Civ. P.

12(c). In deciding a Rule 12(c) motion, the Court should consider “the pleadings as a whole.”

Curran v. Cousins, 509 F.3d 36, 43 (1st Cir. 2007) (affirming district court’s entry of judgment

on the pleadings that resolved issues of law).

                 In resolving the motion, “the Court may also consider documents the authenticity

of which are not disputed by the parties; documents central to plaintiff[’s] claim; and documents

sufficiently referred to in the complaint.” Correia v. Mass. Bay Commuter R.R., Civ. A. No. 12-

12048-DJC, 2013 WL 6383107, at *1 (D. Mass. Dec. 4, 2013) (alterations and internal quotation

marks omitted) (granting motion for judgment on the pleadings), aff’d, No. 14-1020, 2014 WL

7506802 (1st Cir. Sept. 15, 2014).3 On a motion for judgment on the pleadings, the Court

“view[s] the facts contained in the pleadings in the light most favorable to the [party opposing




3
       The Carroll Declaration transmits herewith several documents that are referred to in the
Amended Complaint, including the SPA, Reinsurance Agreement and correspondence between
SPARTA and PGIC, the authenticity of which are not disputed by the parties (nor could they be
in good faith), and are therefore properly before the Court on this motion. (See Carroll Ex. 1-6.)
See also Correia, 2013 WL 6383107, at *1.


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the motion] and draw[s] all reasonable inferences” in the opposing party’s favor. R.G. Fin.

Corp. v. Vergara-Nuñez, 446 F.3d 178, 182 (1st Cir. 2006).

               The Declaratory Judgment Act provides that “[i]n a case of actual controversy . . .

any court of the United States, upon the filing of an appropriate pleading, may declare the rights

and other legal relations of any interested party seeking such declaration, whether or not further

relief is or could be sought.” 28 U.S.C. § 2201(a). In considering a request for declaratory

judgment, courts should consider “whether granting relief would serve a useful purpose, or, put

another way, whether the sought-after declaration would be of practical assistance in setting the

underlying controversy to rest.” Rhode Island v. Narragansett Indian Tribe, 19 F.3d 685, 693-

694 (1st Cir. 1994) (finding declaratory relief claim ripe for review because it presents “a

question of immediate importance to all parties” and “the required interpretation of [the statute at

issue] projects a ‘purely legal’ issue”).

               A motion for judgment on the pleadings is an appropriate procedural vehicle to

seek a declaration of the parties’ rights on an issue of contract interpretation. See, e.g., HSBC

Realty Credit Corp. (USA) v. O’Neill, Civ. A. No. 12-11733-RGS, 2013 WL 362823 (D. Mass.

Jan. 30, 2013) (granting plaintiffs’ motion for judgment on the pleadings seeking enforcement of

express terms of guaranty contract), aff’d, 745 F.3d 564 (1st Cir. 2014); Terumo Americas

Holding, Inc. v. Tureski, Civ. A. No. 14-13838-DJC, 2015 WL 4529746, at *3 (D. Mass. July 27,

2015) (granting motion for judgment on the pleadings reasoning that procedural device “is a

proper framework for enforcing unambiguous contracts because there is no need to resolve

material disputes of fact” (citation omitted)); Atain Specialty Ins. Co. v. Bos. Rickshaw LLC, 387

F. Supp. 3d 157, 160 (D. Mass. 2019) (interpreting insurance contract language in connection




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with motion for judgment on the pleadings); Accents of Sterling, Inc. v. Ohio Sec. Ins. Co., No.

20-cv-11005-DJC, 2021 WL 2117180, at *1 (D. Mass. May 25, 2021) (same).4

               The Court’s ruling in HSBC Realty Credit Corporation illustrates that a case

involving unambiguous contractual terms may be resolved on a motion for judgment on the

pleadings. In that case, the plaintiff lender filed suit against a loan guarantor, seeking to enforce

the guaranty contract when the borrower failed to timely meet its payment obligations. 2013 WL

362823, at *1-2. The defendant raised eighteen affirmative defenses based on allegations that

the plaintiff was required to first seek recovery from a collateral property and the plaintiff had

previously represented that it would do so. Id. at *3. In granting the plaintiff’s motion for

judgment on the pleadings, the court found that these defenses were “eviscerated by the plain

language of the Guaranty” contract. Id. The court highlighted that the contract “explicitly

state[d]” that the plaintiff need not first seek recovery from any collateral and that the defendant

had “‘irrevocably, absolutely and unconditionally’ guaranteed” the loan. Id. Because the

“[p]arties are bound by the plain terms of their contract,” the court granted the plaintiff’s motion



4
        Courts in other jurisdictions have similarly held that a motion for judgment on the
pleadings is an appropriate procedural vehicle to declare the parties’ rights on an issue of
contract interpretation. See, e.g., Bayer Chems. Corp. v. Albermarle Corp., 171 F. App’x 392,
396 (3d Cir. 2006) (affirming the district court’s decision granting plaintiff’s motion for
judgment on the pleadings on its declaratory judgment complaint); Villa Health Care, Inc. v. Ill.
Health Care Mgmt. II, LLC, No. 12-3205, 2013 WL 3864418, at *2 (C.D. Ill. July 25, 2013)
(granting plaintiff’s motion for judgment on the pleadings and entering declaratory judgment in
favor of plaintiff and recognizing that “[c]laims that raise a pure issue of contract interpretation
may be resolved by motions for judgment on the pleadings because the construction of a written
contract is a matter of law” (citation omitted)); Concordia Partners, LLC v. Ward, No. 2:12-cv-
138-GZS, 2013 WL 593862, at *6 (D. Me. Feb. 15, 2013) (granting plaintiff’s motion for
judgment on the pleadings on its complaint for declaratory judgment concerning the
interpretation of an operating agreement); NBC Universal, Inc. v. Paxson Commc’ns Corp.,
Civ. A. No. 650-N, 2005 WL 1038997, at *5 (Del. Ch. Apr. 29, 2005) (“[J]udgment on the
pleadings . . . is a proper framework for enforcing unambiguous contracts because there is no
need to resolve material disputes of fact. Rather, a determination of whether a contract is
ambiguous is a question for the court to resolve as a matter of law.”).


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for judgment on the pleadings and denied the defendant’s request to replead their defenses,

finding that “[b]ecause [the defendant] cannot plead around the express language of the

Guaranty, any repleading would be futile.” Id. at *3, *5 (citation omitted).

               As explained in further detail below, the same is true here: none of PGIC’s

arguments can override the express and unequivocal contractual language of the parties’

agreements that states that “[a]ll liabilities of the Company [AEIC] that have arisen or could

arise, under any insurance contract, or any reinsurance treaty or otherwise, have been and will be

assumed by Seller [PGIC] pursuant to the Reinsurance Agreement,” (SPA § 2.19(b)), that AEIC

had “and will at Closing have, no liabilities of any nature, whether absolute, accrued, contingent

or otherwise or whether due or to come due, other than those assumed by Seller [PGIC] pursuant

to the Reinsurance Agreement,” (SPA § 2.19(b)), and that PGIC will “assume as 100%

reinsurance” the subset of insurance business that PGIC could not directly assume (Reinsurance

Agreement § 6). “Where [the plain terms] are unambiguous, ‘the contract must be enforced

according to its terms.’” HSBC Realty Credit Corp., 2013 WL 362823, at *3 (quoting Edmonds

v. United States, 642 F.2d 877, 881 (1st Cir. 1981)).

       B.      The Court Should Declare That The
               Reinsurance Agreement Unambiguously Requires
               PGIC To Administer and Pay Claims Made Against AEIC Policies

               Interpretation of an unambiguous contract “is a question of law that is appropriate

for a judge to decide[, and w]hether a contract is ambiguous is also a question of law.” Harrell

v. Backstage Salon & Day Spa, Inc., No. 2184CV01795-BLS2, 2022 WL 618681, at *3 n.1

(Mass. Super. Ct. Feb. 22, 2022) (citations omitted) (granting motion for judgment on the

pleadings regarding breach of contract claim). The contract is to be “fairly and reasonably

construed in order to ascertain the intention of the parties and to effectuate the purpose sought to

be accomplished.” Nicolaci v. Anapol, 387 F.3d 21, 24 (1st Cir. 2004) (citation omitted)


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(affirming district court’s interpretation of indemnification clause of stock purchase agreement as

a matter of law in connection with Rule 12 motion because the “[a]greement's unambiguous

language leaves no question of fact to be resolved,” id. at 27).

               Absent an ambiguity, “the contract must be enforced according to its terms.”

HSBC Realty Credit Corp., 2013 WL 362823, at *3 (citation omitted). However, “[t]he fact that

the parties disagree about how to read this provision does not make it ambiguous.” Harrell,

2022 WL 618681, at *3 n.1. Ambiguity arises only if the language “is susceptible to more than

one” meaning and reasonably intelligent persons would differ as to which meaning is the proper

one. Atain Specialty, 387 F. Supp. 3d at 161 (citation omitted).

               Here, the Reinsurance Agreement unambiguously provides that PGIC assumed

liability and would be responsible for claims made against AEIC policies going forward:

       •   The preamble of the agreement explains that “to facilitate the Sale [of AEIC to an
           unrelated party], it is deemed desirable to transfer any and all of American’s liabilities
           to, and have them assumed by, Pennsylvania General” (Reinsurance Agreement at 1);

       •   Paragraph 2 provides that “[b]y this Instrument, the liabilities and assets of American
           shall be transferred to Pennsylvania General and Pennsylvania General shall thereby
           succeed to the liabilities and assets of American” (Reinsurance Agreement § 2);

       •   Paragraph 3 provides that “[i]mmediately as of the Effective Date and Time, . . .
           Pennsylvania General shall be deemed to have assumed any and all of the liabilities
           and assets of American” (Reinsurance Agreement § 3);

       •   For certain insurance businesses that could not be transferred to PGIC directly, PGIC
           agreed to assume liability for those businesses as a reinsurer until such time as PGIC
           was properly licensed and could directly assume liability for those claims,
           (Reinsurance Agreement § 6).

               The liabilities assumed by PGIC are broadly defined to include “any and all of

American’s liabilities or contractual commitments of every nature and description, whether

absolute, accrued, contingent or otherwise or whether due now or in the future.” (Reinsurance

Agreement § 5 (emphasis added)). In particular, the liabilities transferred expressly included



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“any and all unpaid losses and loss adjustment expenses and any and all liabilities existing or

arising in the future under Section 4.a,” (Reinsurance Agreement § 5(a)), and “any and all

subsequent actions, proceedings or liabilities arising from any of the foregoing liabilities or the

assets of American” (Reinsurance Agreement § 5(h)). Section 4.a in turn provided that the assets

transferred to PGIC included all of AEIC’s businesses, including “underwriting contracts,

including direct insurance policies and endorsements in respect thereto, reinsurance contracts,

facultative contracts, retrocession agreements and any and all other underwriting contracts of

every kind and description.” (Reinsurance Agreement § 4(a)). Thus, the liabilities transferred to

PGIC expressly included any claims made on AEIC policies, including future claims, and any

litigation resulting from those claims.

               As other courts have noted, “one who assumes liability, as distinguished from one

who agrees to indemnify against it, takes the obligation of the transferor unto himself, including

the obligation to conduct litigation.” In re Suboxone (Buprenorphine Hydrochloride &

Naloxone) Antitrust Litig., No. 13-MD-2445, 2017 WL 4810801, at *7 (E.D. Pa. Oct. 25, 2017)

(quoting Hatco Corp. v. W.R. Grace & Co. Conn., 59 F.3d 400, 406 (3d Cir. 1995)); see also

Alexander v. McPeck, 75 N.E. 88, 89-90 (1905) (finding that an agreement to assume and

discharge debts and liabilities of prior business “is something more than a mere contract of

indemnity” and if the transferee “desired to have the suit defended, it was his duty to take the

proper measures to that end”).

               Thus, the Reinsurance Agreement transferred to PGIC the responsibility to

administer and pay claims made on AEIC policies, either directly through the assumption of

liability or as a reinsurer pursuant to Paragraph 6 of the Reinsurance Agreement. Indeed, the




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Reinsurance Agreement included a number of provisions establishing that PGIC would be the

proper party to handle AEIC claims going forward:

       •    For the Retained Businesses, PGIC expressly agreed that it would “at its sole
            expense, perform any and all administrative functions for such Retained Business,
            including without limitation claims handling, underwriting and regulatory functions,
            and shall reimburse American for any and all out of pocket expenses related thereto”
            (Reinsurance Agreement § 6);

       •    Paragraph 8 provides that “all liabilities of every nature and description of American
            at the time of the Transfer and Assumption shall attach to and be assumed by
            Pennsylvania General and may be enforced against Pennsylvania General to the same
            extent as if such liabilities had been originally incurred or contracted by Pennsylvania
            General” (Reinsurance Agreement § 8); and

       •    The notice and certification of assumption attached as Exhibit A to the Reinsurance
            Agreement informed AEIC policyholders that “Pennsylvania General shall be
            substituted as your insurer. All payments, notices, claims and suits or actions on your
            Policy shall hereafter be made to Pennsylvania General as though it were your
            original insurer” (Reinsurance Agreement § 7).

               Because the plain language of the Reinsurance Agreement unambiguously

provides that PGIC assumed all of AEIC’s liabilities as of June 15, 2005, SPARTA is entitled to

its requested declaration under Count II that PGIC is responsible for all of AEIC’s liabilities and

contractual commitments of every nature and description, whether absolute, accrued, contingent

or otherwise, or whether due at the time of the Reinsurance Agreement or in the future,

including, without limitation, any and all subsequent actions, proceedings or liabilities arising

from any of the liabilities or assets of AEIC.

       C.      The Court Should Declare That The SPA Unambiguously Requires
               PGIC To Indemnify SPARTA For Claims Made Against AEIC Policies

               The SPA likewise demonstrates that the parties agreed that SPARTA would

obtain AEIC as a “clean shell,” such that there would be no liabilities remaining in AEIC after

the transaction was consummated.




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               First, PGIC repeatedly represented in the SPA that all of AEIC’s liabilities had

been transferred to PGIC as part of the Reinsurance Agreement:

       •   In Section 2.8 of the SPA, PGIC agreed, among other things, that the Reinsurance
           Agreement constitutes a legal, valid and binding obligation of each of PGIC and
           AEIC, enforceable against each of PGIC and AEIC, respectively, in accordance with
           its terms (SPA § 2.8);

       •   In Section 2.19 of the SPA, PGIC agreed, among other things, that all liabilities of
           AEIC that have arisen or could arise, under any insurance contract or any reinsurance
           treaty or otherwise, have been and will be assumed by PGIC pursuant to the
           Reinsurance Agreement (SPA § 2.19); and

       •   In Section 6.12 of the SPA, PGIC agreed, among other things, that the Reinsurance
           Agreement shall be in full force and effect as a condition precedent to the obligation
           of SPARTA to close on the SPA (SPA § 6.12).

               Second, in Section 8.1 of the SPA, PGIC agreed, among other things, to fully

indemnify SPARTA for any breaches of (i) the above representations, (ii) any failure by PGIC to

comply with its obligations under the Reinsurance Agreement, and (iii) any Losses arising out of

AEIC’s business prior to closing. (SPA § 8.1.) Between May and September 2011, SPARTA

provided PGIC with multiple notices regarding PGIC’s obligation to indemnify SPARTA for

specific claims arising out of historical policies issued by AEIC before 2007. (See Carroll Decl.

Exs. 3-7.) Notwithstanding this clear contractual obligation, to date PGIC has refused to

administer and pay for such claims. Accordingly, SPARTA is entitled to a declaration requiring

PGIC to comply with its contractual promises.

                          *                     *                      *

               In sum, the SPA and Reinsurance Agreement establish that PGIC, not SPARTA,

is responsible for all claims made against historical policies issued by AEIC, including the

administration of those claims. Based on the plain language of the parties’ agreements,

SPARTA is entitled to its requested declarations in Counts I and II.




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                                      CONCLUSION

               For the foregoing reasons, SPARTA’s motion for judgment on the pleadings

should be granted in its entirety.

Dated: September 19, 2022                         Respectfully submitted,
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